               Case 19-10350-elf                        Doc 5            Filed 01/18/19 Entered 01/18/19 15:13:33                                                       Desc Main
                                                                          Document     Page 1 of 2

 Fill in this information to identify your case:

 Debtor 1          Franklin A. Bennett III
                   __________________________________________________________________
                     First Name                      Middle Name                      Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the: Eastern District
                                         __________       of Pennsylvania
                                                      District of __________

 Case number         ___________________________________________                                                                                                              Check if this is an
                     (If known)                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                        Your assets
                                                                                                                                                                        Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ..........................................................................................................
                                                                                                                                                                                   296,600.00
                                                                                                                                                                             $ ________________



   1b. Copy line 62, Total personal property, from Schedule A/B ...............................................................................................                    380,950.00
                                                                                                                                                                             $ ________________


   1c. Copy line 63, Total of all property on Schedule A/B .........................................................................................................
                                                                                                                                                                                   677,550.00
                                                                                                                                                                             $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                         Your liabilities
                                                                                                                                                                         Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                                   468,000.00
                                                                                                                                                                             $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                                          0.00
                                                                                                                                                                             $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................

   3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                         +                0.00
                                                                                                                                                                             $ ________________


                                                                                                                                       Your total liabilities                      468,000.00
                                                                                                                                                                             $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
                                                                                                                                                                                     4,000.00
                                                                                                                                                                             $ ________________
   Copy your combined monthly income from line 12 of Schedule I ..........................................................................................

5. Schedule J: Your Expenses (Official Form 106J)
   Copy your monthly expenses from line 22c of Schedule J ....................................................................................................                       2,000.00
                                                                                                                                                                             $ ________________




Official Form 106Sum                                 Summary of Your Assets and Liabilities and Certain Statistical Information                                                   page 1 of 2
                  Case 19-10350-elf                  Doc 5         Filed 01/18/19 Entered 01/18/19 15:13:33                             Desc Main
                                                                    Document     Page 2 of 2
   Debtor 1        Franklin  A. Bennett III
                    _______________________________________________________                           Case number (if known)_____________________________________
                    First Name     Middle Name         Last Name




   Part 4:        Answer These Questions for Administrative and Statistical Records

   6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

        No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
       
       ✔ Yes

   7. What kind of debt do you have?

       
       ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
              family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

        Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
              this form to the court with your other schedules.



   8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
       Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       4,000.00
                                                                                                                                          $ _________________




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                               Total claim


        From Part 4 on Schedule E/F, copy the following:


       9a. Domestic support obligations (Copy line 6a.)                                                                         0.00
                                                                                                               $_____________________



       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                0.00
                                                                                                               $_____________________


       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                      0.00
                                                                                                               $_____________________



       9d. Student loans. (Copy line 6f.)                                                                                       0.00
                                                                                                               $_____________________


       9e. Obligations arising out of a separation agreement or divorce that you did not report as                              0.00
                                                                                                               $_____________________
           priority claims. (Copy line 6g.)

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +                    0.00
                                                                                                               $_____________________



       9g. Total. Add lines 9a through 9f.                                                                                      0.00
                                                                                                               $_____________________




Official Form 106Sum         Summary of Your Assets and Liabilities and Certain Statistical Information                                          page 2 of 2
                Print                            Save As...             Add Attachment                                                          Reset
